                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

JOHN KARPILOVSKY and JIMMIE
CRIOLLO, JR., individually and on behalf of
all others similarly situated,
                                              Case No. 1:17-cv-01307

                 Plaintiff                    Hon. Harry D. Leinenweber

            v.

ALL WEB LEADS, INC., a Delaware
corporation,

                 Defendant.


   PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
                  AND APPOINTMENT OF CLASS COUNSEL




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I.          INTRODUCTION

            All Web Leads, Inc. (“AWL”) ignores this Circuit’s dictate: “Class certification is normal

in litigation under § 227, because the main questions . . . are common to all recipients.” See, e.g.,

Ira Holtzman, C.P.A. v. Turza, 728 F.3d 682, 684 (7th Cir. 2013). This is the “normal” TCPA

case warranting certification. It involves an identifiable group, all duped into entering their

cellphone numbers on AWL’s uniform website, and all harmed in the same way by AWL’s

automated calls from a single autodialer. AWL does not, and cannot, dispute these core facts.

            Instead, AWL focuses almost entirely on its affirmative defense on the merits, prior

express consent. That defense supports class certification because it relies upon common

evidence—specifically, the fine-print language on AWL’s website. This proves too much: if

AWL is right, it is “an argument not for refusing to certify the class but for certifying it and then

entering a judgment that would largely exonerate [it]—a course it should welcome, as all class

members who did not opt out of the class action would be bound by the judgment.” Butler v.

Sears, Roebuck & Co., 727 F.3d 796, 799 (7th Cir. 2013) (reversing district court denial of Rule

23(b)(3) class), cert. denied, 134 S. Ct. 1277 (2014) (“Butler II”). Alternatively, AWL relies on

pure conjecture, supported by literally no evidence in the record. Such hypotheticals have no

bearing on class certification. See, e.g., Toney v. Quality Res., Inc., No. 13 C 42, 2018 WL

844424, at *16-*17 (N.D. Ill. Feb. 12, 2018) (Castillo, J.) (“issues of consent do not defeat

predominance” where defendants present mere speculation, not specific evidence).

            Plaintiffs’ and all Class members’ claims succeed or fail together, ensuring that class

litigation will “generate common answers apt to drive the resolution of the litigation.” Wal-Mart

Stores, Inc. v. Dukes, 564 U.S. 338 (2011) (emphasis in original). So, too, AWL’s affirmative

defense. While AWL’s contention that it obtained effective prior express written consent from

“a vast majority, if not all class members” is demonstrably wrong, Dkt. 92 (AWL Opposition)


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(“Opp.”) at 22, AWL will establish it or not as to all Class members; the answer will not, cannot,

vary among or between Class members. Because proof, or disproof, of this central issue—

whether AWL had prior consent to call Class members—“can be resolved ‘in one stroke,’”

Butler II, 727 F.3d at 801 (citation omitted), it is a perfect candidate for class certification.

II.         AWL MARSHALS NO EVIDENCE.

            Class certification is a fact-bound inquiry, requiring a rigorous analysis of the record. See

Bell v. PNC Bank, Nat’l Ass’n, 800 F.3d 360, 377 (7th Cir. 2015) (requiring resolution of

“material factual disputes that bear on the requirements for class certification”) (citation

omitted). Yet, AWL marshals none. In contrast, Plaintiffs adduced all of the requisite—

common—evidence to certify a TCPA class: AWL’s call records; company testimony and

documents regarding AWL’s autodialer; company testimony and documents regarding AWL’s

website; and expert testimony further confirming AWL’s own corporate testimony. In

opposition, AWL relies upon various third parties’ website articles (Opp. at 18-20) and

relitigates legal arguments the Court already rejected. Opp. at 8-9 (arguing that AWL made

“health care” calls); Sullivan v. All Web Leads, Inc., No. 17 C 1307, 2017 WL 2378079, at *5

(N.D. Ill. June 1, 2017) (rejecting that argument). The articles are not evidence, nor has AWL

bothered to seek judicial notice of them. The Court should disregard them in favor of the actual

evidence. Dkt. 78 (Pls.’ Mot. to Certify Class) at 6-12 (citing common evidence of AWL’s calls,

knowledge of its potential TCPA liability, and lack of prior express written consent).

III.        PLAINTIFFS SATISFY ASCERTAINABILITY, AND THEY HAVE STANDING.1

            A.     The Proposed Class Is Ascertainable

            Rule 23 merely requires that classes be defined clearly and based on objective criteria.

1
    AWL concedes numerosity.




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Mullins v. Direct Digital, LLC, 795 F.3d 654, 659, 660 (7th Cir. 2015) (an ascertainable class is

“a particular group, harmed during a particular time frame, in a particular location, in a particular

way”). Here, the class consists of people: (1) who received a “connected call” from AWL’s

autodialer; (2) to a cellphone; (3) after their contact information was submitted on AWL’s

insurance quote form. It is both clearly defined and based on objective criteria: indeed, each of

the approximately 2 million Class members has already been identified. Dkt. 78 at 6-7.

            Yet AWL hypothesizes—without evidence or explanation—that the class “could include

thousands of individuals who consented to receive calls on their cell phones.” Opp. at 11

(emphasis added). The caselaw is clear: AWL cannot defeat ascertainability with such

speculation. See Toney, 2018 WL 844424, at *10 (holding that a defendant does not challenge

ascertainability by making “only legal arguments” about prior express consent without providing

“specific evidence showing that a significant percentage of the putative class consented to

receiving calls”); Chapman v. Wagener Equities, Inc., No. 09 C 07299, 2014 WL 540250, at *5

(N.D. Ill. Feb. 11, 2018) (“Chapman I”), leave to appeal denied, 747 F.3d 489 (7th Cir. 2014)

(“Chapman II”) (Posner, J.) (“[T]he mere possibility that ‘some of the proposed class members

may have independently consented does not warrant denial of class certification.’”); The

Savanna Grp., Inc. v. Trynex, Inc., No. 10-cv-7995, 2013 WL 66181, at *3-4 (N.D. Ill. Jan. 4,

2013) (defendant failed to offer specific evidence of consent); Kristensen v. Credit Payment

Servs., 12 F. Supp. 3d 1292, 1307 (D. Nev. 2014) (“in the absence of any evidence of consent by

the defendant, consent is a common issue with a common answer”). Indeed, a defendant cannot

defeat class certification “merely because there is a theoretical possibility that dialing lists

selected through automatic processes might sometimes include individuals who, by

happenstance, have previously consented to receiving marketing text messages.” Lee v.




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Stonebridge Life Ins. Co., 289 F.R.D. 292, 295 (N.D. Cal. 2013).2

            Jamison v. First Credit Servs., Inc., 290 F.R.D. 92, 109 (N.D. Ill. 2013) does not support

AWL’s position. It is of dubious persuasive value, and clearly distinguishable. First, Jamison

was decided before Mullins and “consequently, is not persuasive on the issue of the proposed

class’ ascertainability.” See Toney, 2018 WL 844424, at *10 n.11 and accompanying text

(noting also that Jamison incorrectly applied a “clear and convincing” burden of proof). Second,

the Jamison defendants presented “specific evidence” demonstrating that a sizable percentage of

the proposed class consented to receiving calls on their cell phones. See id. AWL has made no

such showing; it argues instead that all Class members consented.3

            B.     Plaintiffs Allege an Injury-In-Fact

            AWL challenges standing because “the TCPA-compliant consent language was present

on [AWL’s] website for the named Plaintiffs and all proposed Class members,” and “Plaintiffs

have provided no evidence of a violation of their privacy interests, and therefore an injury-in-

fact” as a result of AWL’s calls. Opp. at 13. AWL’s argument—a variant of its prior express

consent defense, again lacking any evidence to support it—is easily refuted.

            A violation of the TCPA is a concrete injury. Barrera v. Guaranteed Rate, Inc., Case No.
2
  Even if there were evidence that a limited number of Class members provided prior express consent
(which there is not), the Seventh Circuit has expressly rejected a “heightened” ascertainability
requirement. Mullins, which AWL also cites, expressly cautioned against conflating concerns about the
process and accuracy of determining a class list with the proper ascertainability analysis. Questions of
whether a class list can be generated without “extensive and individualized fact-finding or mini-trials” are
properly evaluated in terms of Rule 23(b)(3) superiority, not ascertainability. 795 F.3d at 663. This
distinction prevents the technical details of putting together a list from disproportionately dominating the
Rule 23 analysis. Under this analysis, Plaintiffs easily satisfy the ascertainability standard.
3
  Vigus v. S. Ill. Riverboat/Casino Cruises, Inc., 274 F.R.D. 229 (S.D. Ill. 2011), too, pre-dates Mullins,
and its ascertainability analysis violated Mullins’ prohibition on testing the class list and considering
administrative feasibility under the guise of ascertainability. See id. at 235-36. The Vigus plaintiff did
not dispute that consumers provided their cell phone numbers “knowing that, as a consequence, they
would receive telephone advertisements from the defendant.” Id. Here, in contrast, AWL’s website
promised online health insurance quotes but dialed consumers’ cell phones without legally effective
consent. Finally, as this Court found, the Vigus defendant provided specific evidence of consumers’
“individualized consent.” Sullivan, 2017 WL 2378079, at *9. AWL makes no such showing here.




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17-cv-5668, 2017 WL 4837597, at *3 (N.D. Ill. Oct. 23, 2017); see also Pierre v. Midland Credit

Mgmt., Inc., Case No. 16 C 2895, 2017 WL 1427070, at *4 (N.D. Ill. Apr. 21, 2017)

(Leinenweber, J.) (statutory violation was sufficient injury to meet standing requirement for class

certification). At deposition, both Plaintiffs identified an injury-in-fact stemming from AWL’s

unlawful conduct—loss of time caused by the automated calls that invaded their privacy. Ex. E4

(Criollo Dep.) at 18:18-19:25, 93:23-94:16 (testifying that calls frustrated and annoyed him, tied

up his phone line, used his minutes, and interrupted him while he administered medicine to his

daughter fighting cancer); Ex. F (Karpilovsky Dep.) at 140:24-142:13 (testifying that the calls he

received cost him phone minutes and caused him inconvenience). This is all the Seventh Circuit

requires to confer TCPA standing. See Turza, 728 F.3d at 684 (“[Every] recipient . . . suffers

some loss: the value of the time.”) (citations omitted).

            AWL does not challenge this evidence or the evidence detailing years of complaints

about AWL’s abusive calling practices from consumers, business partners, and numerous

attorneys general around the country. Dkt. 78 at 7-9, 11 (describing AWL’s history of consumer

complaints). Instead, AWL attempts to twist its prior express consent defense into an Article III

challenge, speculating that “most, if not all, putative Class members saw the consent language on

[its] website, provided their prior express written consent to receive calls from AWL, and thus

have not suffered an Article III injury.” Opp. at 11. This is a defense, not an argument against

standing (much less class certification). Plaintiffs were injured when they received the calls. See

Franklin v. Depaul Univ., No. 16 C 8612, 2017 WL 3219253, at *3 (N.D. Ill. July 28, 2017).

            AWL again provides no evidence to support its assertion. And even if AWL could show

that some Class members provided valid prior express consent—it has not—“such a possibility

4
 References to an exhibit identified by a letter are to exhibits filed in support of Plaintiffs’ Motion for
Class Certification (Dkt. 78). Plaintiffs cite and attach three numbered exhibits to this brief.




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or indeed inevitability does not preclude class certification[.]” Kohen v. Pac. Inv. Mgmt. Co.

LLC, 571 F.3d 672, 677 (7th Cir. 2009). “While it is true ‘a class should not be certified if it is

apparent that it contains a great many persons who have suffered no injury at the hands of the

defendant,’ Defendant[] fail[s] to submit evidence showing that the proposed class members

were not harmed by Defendant[’s] conduct.” Toney, 2018 WL 844424, at *11 (quoting Messner

v. Northshore Univ. HealthSystem, 669 F.3d 802, 825 (7th Cir. 2012) (citation omitted)).5

IV.         PLAINTIFFS SATISFY COMMONALITY.

            Undisputed evidence shows AWL’s uniform practice of making automated calls to

cellphones. Dkt. 78 at 4-7. Such a practice makes class certification “the norm” in TCPA cases.

Chapman I, 2014 WL 540250, at *15, n. 11; see also Suchanek v. Sturm Foods, Inc., 764 F.3d

750, 756 (7th Cir. 2014) (“Where the same conduct or practice by the same defendant gives rise

to the same kind of claims from all class members, there is a common question.”).

            AWL’s prior express written consent defense is similarly well-suited for classwide

resolution. “[E]ach putative class member [here] gave the same consent; the ability of All Web

to invoke consent as an affirmative defense to each class member is uniform; and determining

the legal efficacy of this consent under the TCPA ‘will resolve an issue that is central to the

validity of each one of the claims in one stroke.’” Sullivan, 2017 WL 2378079, at *9 (quoting

Dukes, 564 U.S. at 350). AWL’s own records and Plaintiffs’ expert analysis both confirmed

that AWL’s website used the same Lilliputian language, displayed the same way (hidden beneath

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  AWL’s contention that Plaintiffs “solicited” and “expected to receive” autodialed calls from AWL, Opp.
at 13, is contradicted by the evidence. See Dkt. 78 at 4-5, 12-13 (explaining that AWL’s website gives
consumers the expectation that they will receive online insurance quotes, and that Plaintiffs Criollo and
Karpilovsky expected to receive online quotes, not calls). Similarly, AWL’s reliance on Winner v. Kohl’s
Dep’t Stores, Inc., No. CV 16-1541, 2017 WL 3535038, at *5 (E.D. Pa. Aug. 17, 2017) is misplaced:
there, consumers signed up for a text message marketing program and “admit[ted] . . . that they consented
to receiving the messages[.]” Plaintiffs here did not consent to calls and contend that AWL’s purported
consent language is legally ineffective prior express consent as to all Class members.




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the “Submit” button), for every Class member. See Ex. B (Leirer Dep.) at 45:21-23; Ex. G

(Young Rept.) at 8 (confirming that AWL’s internal changelog was consistent with Ms. Leirer’s

testimony and “no changes affected the placement of the contested language below the ‘Submit’

button”). Either AWL’s hidden language constituted “clear and conspicuous” prior express

written consent and complied with the TCPA as to all Class members, or to none.

            AWL does not dispute that its calling practices are uniform and established by common

evidence, nor that its prior express written consent defense is based on AWL displaying the same

purported consent language in the same location (relative to the “Submit” button) on its website.

Opp. at 15-17. Rather, it claims that the effectiveness of its prior express consent defense turns

on “whether the consent language was viewed by each class member.” Id. at 18. From this

premise, AWL lists a series of purported variables (scrolling habits, screen size, viewing

configuration, device used, browser used), id. at 15-17, that it insists will “necessitate[] a fact-

based, individualized review.” Id. at 18. This argument fails for three reasons.

            First, AWL’s purported variables are irrelevant. This Court already found—and AWL

does not dispute—that AWL’s ability to prevail on its prior express consent defense will depend

upon whether its disclosure was “clear and conspicuous.” Sullivan, 2017 WL 2378079, at *7

(citing 47 C.F.R. § 64.1200(f)(8)(i)). This is not measured subjectively on a consumer-by

consumer basis—but according to a “reasonable consumer” standard. See id. (citing 47 C.F.R. §

64.1200(f)(3) (“The term clear and conspicuous means a notice that would be apparent to the

reasonable consumer, separate and distinguishable from the advertising copy or other

disclosures.”) (emphasis in original)).6 Any “individual inquiry” into “whether consent was


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  Accord Barrera, 2017 WL 4837597, at *2 (adopting same standard in a similar case); see also Rubio v.
Capital One Bank, 613 F.3d 1195, 1200 (9th Cir. 2010) (finding “clear and conspicuous” disclosure
language under TILA, measured according to “reasonable consumer” standard, is a question of law).




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provided by each class member” would be legally pointless; the relevant inquiry is whether

AWL’s purported disclosure “would be apparent to the reasonable consumer”—a classwide

analysis particularly susceptible to common evidence. See Blow v. Bijora, Inc., 855 F.3d 793,

806 (7th Cir. 2017) (rejecting argument that determining whether each plaintiff had given prior

express consent requires “a series of mini-trials”) (citation omitted).

            Second, AWL’s argument about individualized internet viewing practices is entirely

speculative and unsupported by any admissible evidence. The burden falls on AWL to

demonstrate that it obtained prior express consent of the called party. See In the Matter of Rules

& Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C. Rcd. 15391, 15398

(2012); In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,

23 F.C.C. Rcd. 559, 565 (2008). Yet, AWL has provided no evidence that even a single

consumer saw its purported disclosure, or that different consumers viewed it differently.

Because discovery is now closed, there is no possibility of such evidence; AWL’s speculative

argument should be rejected. See, e.g., Toney, 2018 WL 844424, at *16 (“Defendants . . . do not

provide any evidence showing that the . . . online order form was understood differently among

the proposed class members[.]”).7

            Faced with actual evidence in the form of its own witnesses’ testimony and expert

testimony, AWL cites what it calls “evidence and common sense”—apparently the results of

some online searches by its counsel—in a belated attempt to rebut the testimony of Plaintiffs’

website design and online marketing expert, Alexander Young. Opp. at 18-20 (citing online
7
 See also Bernal v. NRA Grp., LLC, 318 F.R.D. 64, 74 (N.D. Ill. 2016) (even crediting defendant’s
“entirely speculative assertion” that some Class members expressly authorized its conduct, commonality
was satisfied because “‘Rule 23(a)(2) does not demand that every member of the class have an identical
claim,’ and some degree of factual variation will not defeat commonality provided that common questions
yielding common answers can be identified”) (citation omitted); Green v. Serv. Master on Location Servs.
Corp., 07 C 4705, 2009 WL 1810769, at *2 (N.D. Ill. June 22, 2009) (observing that “the possibility that
some class members may have consented is not sufficient to defeat class certification” under the TCPA).




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articles about scrolling habits, internet browser displays, and screen readers for the visually

impaired); see generally Dkt. 87 (Pl.’ Opp. to AWL’s Mot. to Exclude Expert Testimony).8 But

this is not evidence: it was never produced in fact discovery, which closed on November 10,

2017, or expert discovery, which closed on December 15, 2017 (without any expert testimony

from AWL). See Dkt. 61, 65. As such, it should be disregarded if not stricken. See, e.g., Lujan

v. Cabana Mgmt., Inc., 284 F.R.D. 50, 67 (E.D.N.Y. 2012) (striking information relied upon in

opposition to class certification that was not disclosed in discovery process); Roberts v. Scott

Fetzer Co., No. 4:07-CV-80 CDL, 2010 WL 3546499, at *9 (M.D. Ga. Sept. 7, 2010) (same).

            Third, AWL cannot defeat commonality even if its evidence-free arguments are credited.

Plaintiffs have marshalled documentary evidence, testimony from AWL’s corporate

representatives, and the analysis by Mr. Young establishing that (1) AWL uniformly called Class

members who visited its website, (2) the website did not change materially during the class

period, and (3) AWL’s “consent” procedure did not comply with industry best practices. Dkt. 78

at 5-6. AWL’s own brief cites common evidence to support its prior express consent defense.

See Opp. at 22 (citing corporate testimony that the records AWL believes “reflect prior express

written consent are the records that show whether someone came through the website”).

Whether a consumer accessed the website on an iPad or iPhone does not erase these common

questions, nor does speculation about “inherent variables” of computer use, such as “scrolling

habits” and “browser configuration.” Bernal, 318 F.R.D. at 74 (observing that “some degree of

factual variation will not defeat commonality”). All the more so when the only evidence is that

(i) the viewing experience and consent procedure were the same for all class members regardless
8
 Plaintiffs submit that the Court can decide that class certification is appropriate without relying on Mr.
Young’s expert opinions, but respectfully request that the Court contemporaneously rule on AWL’s
motion to exclude Mr. Young’s testimony if there is any question that his opinion is critical to the ruling.
See Messner, 669 F.3d at 812 (“If a district court has doubts about whether an expert’s opinions may be
critical for a class certification decision, the court should make an explicit Daubert ruling.”).




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of the device or browser used (Ex. G at 10-18); and (ii) AWL’s website had a mechanism that

automatically modified the viewing settings on users’ devices to render its website uniformly,

regardless of the device used. Ex. 1 (Young Dep.) at 172:1-17, 198:3-200:16, 289:6-291:5.

            Nor is AWL’s assertion that the possibility that numbers have been reassigned is an

“uncommon question that will generate atypical answers,” Opp. at 16, persuasive. AWL again

cites zero evidence to support this assertion, and it cannot defeat commonality by hypothesizing

an individualized inquiry. Chapman I, 2014 WL 540250, at *5.9

V.          PLAINTIFFS SATISFY THE TYPICALITY STANDARD.

            Plaintiffs’ claims are “reasonably coextensive” with and “have the same essential

characteristics as” those of the class because Plaintiffs were subjected to the same practice—

automated calls to their cellphones without prior express consent. See Birchmeier v. Caribbean

Cruise Line, Inc., 302 F.R.D. 240, 251 (N.D. Ill. 2014) (citation omitted). Typicality “should be

determined with reference to the company’s actions, not with respect to particularized defenses it

might have against certain class members,” CE Design Ltd. v. King Architectural Metals, Inc.,

637 F.3d 721, 725 (7th Cir. 2011) (“CE Design I”). “[T]he fact that some class members . . .

may have consented to the calls . . . does not vitiate the typicality of the class representatives’

claims.” Gehrich v. Chase Bank USA, N.A., 316 F.R.D. 215, 225 (N.D. Ill. 2016).10 “To make a

successful typicality challenge, the defendants must demonstrate, by a preponderance of the

evidence, that the plaintiff’s claim actually is atypical—not just that it might be.” Chapman I,

2014 WL 540250, at *12. Factual distinctions between the representative parties’ claims and the

Class members’ claims do not destroy typicality. Savanna Grp., 2013 WL 66181, at *11
9
  AWL did not move to exclude, or even bother to depose, Plaintiffs’ expert, Jeffrey A. Hansen, who
analyzed AWL’s calling data, or put forth its own expert on the issue. To the extent the answer to AWL’s
hypothetical question is “unknown,” Opp. at 16, AWL failed to marshal any evidence to answer it.
10
   Accord Bernal, 318 F.R.D. at 74 (citing Rosario v. Livaditis, 963 F.2d 1013, 1018 (N.D. Ill. 2016)
(“[W]e look to the defendant’s conduct and the plaintiff’s legal theory to satisfy Rule 23(a)(3).”))




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(citation omitted). Where, as here, the defendant engages “in a standardized course of conduct . .

. and plaintiffs’ alleged injury arises out of that conduct,” typicality is “generally met.” Hinman

v. M and M Rental Center, 545 F. Supp. 2d 802, 806-07 (N.D. Ill. 2008) (citation omitted).

            Like each class member, each Plaintiff’s cell phone number was in AWL’s outgoing

autodialer records. AWL received each Plaintiff’s information through its Website, then called

him using an autodialer. Rule 23(a)(3)’s “permissive standards” require nothing more. Newberg

on Class Actions § 3:29 (5th ed.) (Typicality is satisfied if “‘the named representatives’ claims

share the same essential characteristics as the claims of the class at large.’”) (citation omitted).

            AWL again relies on its prior express consent defense—but a consent defense against

individual Class members does not defeat typicality. Gehrich, 316 F.R.D. at 225. AWL’s

contention that the named Plaintiffs are atypical because “a vast majority, if not all, of the

proposed class members” consented to receive calls is merely a conclusory assertion that cites a

conclusory assertion as evidence. Opp. at 22 (citing AWL’s corporate representative’s testimony

that the records he believes “reflect prior express written consent are the records that show

whether someone came through the website”). Typicality is not thwarted by AWL’s naked

assertion that maybe everyone but the Plaintiffs consented. See Toney, 2018, WL 844424, at *13

(plaintiff who received a call from defendant to her cell phone marketing a product, like the other

proposed Class members, satisfied typicality, notwithstanding defendant’s consent defense).

VI.         PLAINTIFFS ARE ADEQUATE.

            AWL’s attacks on Plaintiffs’ adequacy are as irrelevant as they are ungenerous. “Rule

23(a)(4) requires that the named plaintiffs and class counsel ‘will fairly and adequately protect

the interests of the class.’” Birchmeier, 302 F.R.D. at 252 (quoting the Rule). “The requirement

that the class representative be adequate is relatively modest and will generally be satisfied if the

plaintiff does not have interests that are antagonistic to those of the other class members.”


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Reliable Money Order, Inc. v. McKnight Sales Co., 281 F.R.D. 327, 333 (E.D. Wis. 2012), aff’d,

704 F.3d 489 (7th Cir. 2013) (citation omitted)). The adequacy requirement is not intended to

test a lay plaintiff’s knowledge on the fine points of a legal claim. See, e.g., City Select Auto

Sales, Inc. v. David Randall Assocs., Inc., 296 F.R.D. 299, 316 (D.N.J. 2013) (TCPA plaintiff

was adequate even though he did not recollect the specific fax at issue and only had minimal

knowledge about the case); Reliable Money Order, 281 F.R.D. at 334 (similar).

            AWL’s attempts to manufacture non-existent credibility issues, conflicts of interest, and

so-called “discrepancies” in Plaintiffs’ testimony fail. Both Plaintiffs consistently testified that,

immediately after clicking “Submit,” they received a call from AWL, followed by numerous

calls from unrecognized numbers around the country—calls they had not received before AWL

captured and presumably resold their cellphone numbers. Ex. E (Criollo Dep.) at 99:1-25,

111:10-112:16; Ex. F (Karpilovsky Dep.) at 20:3-23:8. Their testimony and discovery responses

are perfectly consistent: both Plaintiffs know the first call (or in Karpilovsky’s case, two calls)

came from AWL and cannot identify who placed the remaining calls—only that they did not

happen before AWL acquired their phone numbers.

            In each Plaintiff’s deposition, AWL’s counsel posed a series of wholly irrelevant

“gotcha” questions most law students—and many practicing lawyers—would fail.11 Plaintiffs

are consumers, not lawyers.12 They well-satisfy the adequacy requirement.13


11
   See, e.g., Ex. 2 (Criollo Dep.) 70:5, 11:18-19, 42:9-18, 42:23-24 (“What do you mean by ‘injunctive
relief?’”; “Do you know what the acronym ‘HIPAA’ stands for, H-I-P-A-A?”; Do you know what the
Class Action Fairness Act is? [. . .] Did you ever read it? [. . .] Do you think it's important to read it? [. . .]
Why didn't you read it if it's important?”; “Have you ever read any [FCC] regulations?”).
12
   See Ex. 2 (Criollo Dep.) at 19:17-20 (testifying that he is a van driver for the local transit system); Ex. 3
(Karpilovsky Dep.) at 13:15 (testifying that he is a lead application specialist at a health care company).
13
   See Ex. 2 (Criollo Dep.) at 30:18-31:6 (testifying that he reviewed the FAC before filing), 97:1-2 (“I
reviewed everything my attorney sent me”), 33:22-23 (testifying that he understands his job is to
“represent everybody and their interests the best that I can”), 25:17-24 (describing a conflict of interest in
                                                                            Footnote continued on next page


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            AWL’s argument that Plaintiffs are inadequate, either because they are not pursuing

damages or do not know intricate details of their injunctive relief and damages claims, is

likewise misguided. Plaintiffs are pursuing damages, as the First Amended Complaint (“FAC”)

makes clear. Dkt. 44 (FAC), ¶ 56. AWL’s representation that Plaintiff Criollo “refuted that

position and stated in his deposition that he is not seeking damages,” Opp. at 24 (citing Opp. Ex.

B at 31:15-32:2), is flatly untrue. AWL’s misleading excerpt stops just before this exchange: “Q.

Are you asking for money damages? [Counsel objects to the form of the question.] A. Yes.” Ex.

2 (Criollo Dep.) at 32:3-6.14 Likewise, both Plaintiffs knew the two lawyers with whom they

routinely interact: Gary Klinger and John Spragens. Ex. 2 (Criollo Dep.) at 10:8-11:2; Ex. 3

(Karpilovsky Dep.) at 54:2-19. The fact that they were not familiar with other attorneys on the

case who never personally worked with them has no bearing on their adequacy.

VII.        PLAINTIFFS SATISFY PREDOMINANCE.

            Common issues plainly predominate here, where Plaintiffs’ and Class members’ claims

all arise from AWL’s common course of conduct, and even AWL’s primary defense is itself

uniform to all Class members. AWL has identified no actually individual issues, nor marshalled

any evidence of such. Even if it had, “predominance is [not] determined simply by counting

noses: that is, determining whether there are more common issues or more individual issues,

regardless of relative importance.” Butler II, 727 F.3d at 801. “An issue ‘central to the validity

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his own words); Ex. 3 (Karpilovsky Dep.) at 40:4-43:12 (explaining his review of documents in
connection with the lawsuit and his duties as a class representative).
14
   Culver v. City of Milwaukee, 277 F.3d 908, 912 (7th Cir. 2002), does not support AWL: the Supreme
Court has said “that the mere fact that a named plaintiff’s claim is moot does not prevent a finding that he
is an adequate representative of the class.” Snyder v. Ocwen Loan Servicing, LLC, 258 F. Supp. 3d 893,
904–05 (N.D. Ill. 2017) (citing Sosna v. Iowa, 419 U.S. 393, 403 (1975)). Snyder further distinguished
Culver because the latter “noted that once the claim of the named plaintiff in that case became moot, he
subsequently lost any material stake in prosecuting that particular suit.” Id. (citing Culver, 277 F.3d at
912). “That is not the case here, where both [named plaintiffs] maintain interests in pursuing statutory
damages under the TCPA and therefore remain highly incentivized to pursue their claims.” Id.




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of each one of the claims’ in a class action, if it can be resolved ‘in one stroke,’ can justify class

treatment.” Id. (quoting Dukes, U.S. 564 at 350); accord Chicago Teachers Union, Local No. 1

v. Bd. of Educ., 797 F.3d 426, 444 (7th Cir. 2015); Sullivan, 2017 WL 2378079, at *9.

            As with commonality, AWL suggests that its prior express consent defense “requires

individualized inquiries.” Opp. at 27. But it cites no evidence for this contention and, because

discovery has closed, there is none. AWL argues again that fact-specific determinations will be

required to determine whether each consumer actually saw its purported consent language—but

as this Court already found, whether AWL’s prior express consent defense is valid will be

determined by the objective standard of whether a “reasonable consumer” would find it clear and

conspicuous. Sullivan, 2017 WL 2378079, at *7; see supra Sec. IV.

            Even if AWL had shown that any individualized inquiries are necessary—it has not—that

alone does not defeat predominance unless “‘individual questions . . . overwhelm questions

common to the class.’” Butler II, 727 F.3d at 801 (citation omitted); see also Suchanek, 764 F.3d

750, 759 (7th Cir. 2014) (“a rule requiring 100% commonality would eviscerate” consumer class

actions). “Courts have traditionally been reluctant to deny class action status as failing the

predominance requirement of Rule 23(b)(3) simply because affirmative defenses may be

available against individual members.” Pace v. PetSmart Inc., No. SACV 13-00500, 2014 WL

2511297, at * 9 (C.D. Cal. June 3, 2014) (internal quotation marks omitted). Affirmative

defenses are generally not a basis for denying class status.15

            AWL’s reliance on Mauer v. Am. Intercontinental Univ., Inc., No. 16 C 1473, 2016 WL

15
   See Smilow v. Southwestern Bell Mobile Sys., Inc., 323 F.3d 32, 39 (1st Cir. 2003) (“[W]here common
issues otherwise predominated, courts have usually certified rule 23(b)(3) classes even though individual
issues were present in one or more affirmative defenses.”); 7AA Wright et al., Fed. Prac. & Proc. Civ. §
1778 (3d ed. 2015) (“[T]he action may be considered proper under Rule 23(b)(3) even though other
important matters will have to be tried separately, such as damages or some affirmative defenses peculiar
to some individual class members.”) (footnotes omitted)




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4698665 (N.D. Ill. Sept. 8, 2016) and Brodsky v. HumanaDental Ins. Co., 269 F. Supp. 3d 841

(N.D. Ill. 2017) is misplaced. Here, unlike those cases, Plaintiffs identified “a method by which

to ascertain consent on a class-wide basis,” Mauer, 2016 WL 4698665, at *4—specifically

AWL’s purported consent language, which was uniform as to all Class members—while AWL

produced no evidence demonstrating that consent is somehow individualized. Cf. Brodsky, 269

F. Supp. 3d at 846 (decertifying a junk fax class where defendant provided “specific evidence”

demonstrating that individual contracts raised agency issues requiring individual inquiries).

VIII. PLAINTIFFS SATISFY SUPERIORITY.

            AWL’s argument against superiority due to “the individualized nature of its defenses,”

fails for the same reasons—namely, that AWL fails to show that individual inquiries are relevant

to its “reasonable consumer” prior express consent defense. See supra Sec. IV. Its argument

that Congress intended for consumers to file individual actions under the TCPA ignores that

TCPA class actions are routinely certified.16 Here, “the overarching liability and impact issues

are common to the class and can ‘be resolved in one stroke,’” Kleen Prod. LLC v. Int’l Paper,

306 F.R.D. 585, 605-06 (N.D. Ill. 2015), aff’d, 831 F.3d 919 (7th Cir. 2016) (Leinenweber, J.)

(citation omitted). In light of “the breadth and importance of the common issues, ‘the superiority

requirement . . . poses no serious obstacle to class certification here.’” Id. (citation omitted).

IX.         CONCLUSION

            Plaintiffs respectfully request that the Court grant their motion to certify the Class.




16
  See, e.g., Hinman, 545 F. Supp. 2d at 807 (“It also appears that resolution of the issues on a classwide
basis, rather than in thousands of individual lawsuits (which in fact may never be brought because of their
relatively small individual value), would be an efficient use of both judicial and party resources.”).




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Dated: February 23, 2018    Respectfully submitted,

                            LIEFF CABRASER HEIMANN &
                             BERNSTEIN, LLP



                            By: /s/ Jonathan D. Selbin

                            Jonathan D. Selbin
                            (admitted to the N.D. Ill. general bar)
                            Email: jselbin@lchb.com
                            250 Hudson Street, 8th Floor
                            New York, NY 10013
                            Telephone: (212) 355-9500
                            Facsimile: (212) 355-9592

                            Daniel M. Hutchinson
                            (admitted to the N.D. Ill. general bar)
                            Email: dhutchinson@lchb.com
                            275 Battery Street, 29th Floor
                            San Francisco, CA 94111-3339
                            Telephone: (415) 956-1000
                            Facsimile: (415) 956-1008

                            John T. Spragens
                            (admitted to the N.D. Ill. general bar)
                            Email: jspragens@lchb.com
                            222 2nd Avenue South, Suite 1640
                            Nashville, TN 37210
                            Telephone: (615) 313-9000
                            Facsimile: (615) 313-1973
                            Gary M. Klinger (ARDC # 6303726)
                            Ryan F. Sullivan (ARDC # 6314103)
                            KOZONIS LAW, LTD.
                            4849 N. Milwaukee Ave., Ste. 300
                            Chicago, Illinois 60630
                            Phone: 312.283.3814
                            Fax: 773.496.8617
                            gklinger@kozonislaw.com
                            rsullivan@kozonislaw.com

                            Counsel for Plaintiffs and the Proposed Class




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                                 CERTIFICATE OF SERVICE

            I hereby certify that on February 23, 2018, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties indicated on the electronic filing receipt. Parties may access this filing

through the Court’s electronic filing system.

                                                         /s/John T. Spragens




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